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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                   Chapter 13
         Gary S Jenkins                                  Bankruptcy No.19-17647-JKF
         Darlene G Jenkins

                              Debtors

                          OBJECTION OF CHAPTER 13 TRUSTEE
                        TO CONFIRMATION OF PLAN OF DEBTORS

        AND NOW comes Scott F. Waterman, Esq., Standing Chapter 13 Standing Trustee, to
object to confirmation of the chapter 13 plan of the Debtors, because it fails to comply with 11
U.S.C. Sections 1322 and/or 1325 of the Bankruptcy Code, and/or Debtors have failed to provide
information, evidence, or corrections to the petition, schedules, statements, or other documents
filed by Debtors to enable the standing trustee to evaluate the Plan for confirmation, as follows:


        Schedules I and J indicate that the debtor(s) will not be able to make all payments under
the Plan and to comply with the Plan, in violation of 11 U.S.C. Section 1325 (a)(6).

      WHEREFORE, the standing trustee requests that the Court enter an order in the form
annexed hereto denying confirmation of the Plan.


                                                 Respectfully submitted,

                                                 /s/ Scott F. Waterman
                                                 Scott F. Waterman, Esquire
                                                 Chapter 13 Standing Trustee
